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                  EXHIBIT A
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                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF MASSACHUSETTS

PRESIDENT AND FELLOWS OF
HARVARD COLLEGE,

              Plaintiff,
                                             Case No. 1:25-cv-11048-ADB
     v.

UNITED STATES DEPARTMENT OF
HEALTH AND HUMAN SERVICES, et al.,

              Defendants.



 [PROPOSED] MEMORANDUM OF AMICUS CURIAE CONFERENCE OF BOSTON
   TEACHING HOSPITALS, INC. IN SUPPORT OF PLAINTIFF’S MOTION FOR
                       SUMMARY JUDGMENT
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       Non-party the Conference of Boston Teaching Hospitals, Inc. (“COBTH”) respectfully

submits this Memorandum as Amicus Curiae in support of Plaintiff’s Motion for Summary

Judgment.

                               INTEREST OF AMICUS CURIAE

       COBTH is a non-profit organization comprised of twelve Boston-area teaching hospitals

(the “Hospitals”)1 dedicated to supporting its members’ missions of providing the highest-quality

patient care, discovering and advancing new treatments and cures to life-threatening diseases,

and training the next generation of researchers, physicians, and other health care professionals.

Collectively, the Hospitals have revolutionized treatment for diseases ranging from cancer to

Alzheimer’s. COBTH plays a vital role in promoting the Hospitals’ medical breakthroughs and

clinical research programs.

       The Hospitals are each a party to agreements with one of the Boston-area medical

schools: Harvard Medical School, Tufts University School of Medicine, Boston University

Chobanian & Avedisian School of Medicine, or UMass Chan Medical School. Neither COBTH

nor any of the Hospitals are part of Harvard or any university. The Hospitals have patients

residing around the country, run clinical trials in which residents of a majority of U.S. states

participate, and partner in clinical relationships from Maine to Ohio. The Hospitals and the

respective medical schools are entirely separate entities with independent governance structures,

boards, and management teams. However, through critical collaborations with the medical

schools, the Hospitals have advanced medical science and improved the lives of countless



1
 The members of COBTH are Beth Israel Deaconess Medical Center, Lahey Hospital &
Medical Center, Boston Children’s Hospital, Boston Medical Center, Boston Medical Center –
Brighton, Brigham and Women’s Hospital, Mass General Brigham, Mass Eye and Ear,
Massachusetts General Hospital, Cambridge Health Alliance, Dana-Farber Cancer Institute, and
Tufts Medical Center.


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patients across the country. Research at the Hospitals also includes relationships and clinical

arrangements with some of the nation’s most innovative life sciences companies, which employ

hundreds of thousands of Americans. These businesses help make the U.S. the global leader in

biopharmaceutical and clinical trial development. These collaborations, and the medical

breakthroughs they have supported, are critical to the health of hundreds of thousands of

Americans and are now in jeopardy. The work at the Universities and medical schools often

feeds the translational research done at the Hospitals, which is funded directly to the Hospitals

independent from, and from sources other than, Harvard.

         Over the past several weeks, the government has terminated about $2.4 billion dollars in

federal grants to Harvard University.2 These grant terminations will have the consequence of

threatening the Hospitals’ work to continually advance medical science. COBTH is deeply

concerned about the impact of the abrupt funding terminations at Harvard on its members’

critical work. This Memorandum offers the Court first-hand experience regarding their wide-

ranging effects. The funding cuts have already affected important scientific research projects at

Harvard, and the termination of federal funding to Harvard presents obvious harm to ongoing

research and the education of future scientists and clinicians. But less apparent downstream

harms caused by these funding cuts will extend beyond the walls of the University or its Medical

School.

         The funding cuts will have the unintended, yet real, consequence of damaging the

foundation upon which the Hospitals develop medical breakthroughs for their patients. Basic

science research—often conducted at universities like Harvard—enables hospitals to do clinical

research and develop breakthrough treatments or cures for disease. The Hospitals expand on the



2
    See Declaration of John Shaw (Dkt. # 72) ¶ 15.


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insights derived from the basic science research to launch clinical trials, and ultimately, treat and

cure patients. The termination of Harvard’s federal research grants threatens to stunt future

discoveries and medical advances.

       Further, funding through universities in the form of sub-awards supports important

clinical research at the Hospitals. Whether through collaborations or sub-grants, federal funding

to universities, including Harvard, indirectly supports the Hospital’s research. COBTH asks the

Court to enter summary judgment to the Plaintiff to prevent these collateral consequences of the

funding cuts at Harvard.

                                           ARGUMENT

       The funding termination should be enjoined because, among other reasons, the

government failed to consider “serious reliance interests.” Dep’t of Homeland Sec. v. Regents of

Univ. of Ca., 591 U.S. 1, 30 (2020); Woonasquatucket River Watershed Council v. U.S. Dep’t of

Agriculture, 2025 WL 1116157, at *19 (D.R.I. Apr. 15, 2025) (enjoining funding freeze because

the government’s “failure to consider reliance interests led to an arbitrary and capricious

action.”). Here, the government’s funding cuts to Harvard threaten the Hospitals’ vital work to

advance new treatments and cures for their patients for at least two reasons. First, the Hospitals’

clinical advancements often build upon federally funded basic science research at universities,

which promotes their success. Second, federal funding through universities indirectly supports

important clinical research at the Hospitals. Terminating Harvard grants will require the

Hospitals to end research programs or shift funding from other areas to the detriment of other

important parts of the Hospitals’ missions. The government’s disregard of these reliance interests

renders the funding cuts arbitrary and capricious. For the same reasons, the balance of equities




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and public interest strongly weigh in favor of a permanent injunction. See, e.g., Ass’n Am. Univs.

v. Dep’t of Energy, 2025 WL 1414135, at *20 (D. Mass. May 15, 2025) (Burroughs, J.).

      I.      The Discovery and Advancement of New Treatments and Cures at the COBTH
              Hospitals Regularly Depend on Federally Funded Basic Science Research at
              Universities.

           The Hospitals are part of a world-class national innovation ecosystem that has led to the

development in the U.S. of dozens of life-saving treatments and cures for diseases. Along with

the discoveries and advances at the Hospitals, the ecosystem includes basic science research at

universities funded by the National Institutes of Health (“NIH”) and life sciences companies that

bring new therapeutics to market. Each part of this ecosystem is critical to the continued

development of new life-saving treatments and cures. While the Hospitals are active in dozens of

clinical trials, the NIH funding of basic science research at medical schools and schools of public

health across the country is critical to the Hospitals’ development of new medical advances. That

innovation ecosystem was built on decades of federally funded basic science research. Indeed,

nearly every FDA-approved drug developed in recent years was based, at least in part, on NIH-

funded basic research.3 Terminating that research funding to Harvard will fracture this carefully

curated innovative ecosystem, threatening future medical and scientific breakthroughs.

           Without basic scientific research at universities, there will be fewer scientific discoveries.

With fewer scientific discoveries, there will be fewer life-saving medical treatments and cures

for disease. There are many examples of how this ecosystem—including basic science research




3
  Ekaterina Galkina Cleary et al., Comparison of Research Spending on New Drug Approvals by
the National Institutes of Health vs. the Pharmaceutical Industry, 2010-2019, JAMA Health
Forum (Apr. 28, 2023), https://jamanetwork.com/journals/jama-health-forum/fullarticle/2804378
(“[f]unding from the NIH has contributed to 354 of 356 drugs (99.4%) approved from 2010 to
2019 . . .”).


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at medical schools—has led to life-saving medical-breakthroughs at the Hospitals. Here are a

few.

        In 2019, scientists at Harvard Medical School discovered that a specific protein in the

inner ear of mice plays an important role in hearing.4 A year later, a 10-year-old girl with hearing

loss sought treatment at Boston Children’s Hospital. Uncertain of the cause, Boston Children’s

enrolled the young girl in a clinical trial that screened for genetic variants. 5 The screening found

a genetic error in the same protein the Harvard scientists had discovered was involved in mice

hearing.6 This discovery opened a path to potential treatment using gene therapy, similar to work

at Boston Children’s to treat hearing loss caused by defects in other genes.

        To take another example, earlier this year, surgeons at Massachusetts General Hospital

(“MGH”) performed their second successful transplant of a genetically edited pig kidney into a

living patient, a 66-year-old New Hampshire man.7 The patient had end-stage kidney disease, but

faced a potential wait of five to ten years for a human kidney transplant. Only one week after the

successful transplant, the patient left the hospital and was off dialysis for the first time in two

years. This pioneering treatment has enormous potential for the more than 500,000 patients on

dialysis, and thousands waiting for a kidney transplant.




4
  See Xudong Wu et al., PKHD1L1 Is A Coat Protein of Hair-Cell Stereocillia And is Required
in Normal Hearing, 10 Nat. Communs. 3801 (Aug. 23 2019),
https://www.nature.com/articles/s41467-019-11712-w.
5
  Harvard Otolaryngology, Establishing a Nonsyndromic Hearing Loss Gene (Spring 2024),
https://issuu.com/hmsotolaryngology/docs/harvard-otolary-spring-2024-v12-
_hires_?fr=xKAE9_zU1NQ.
6
  See id.
7
  Press Release, Massachusetts General Hospital Performs Second Groundbreaking
Xeotransplant of Genetically-Edited Pig Kidney Into Living Recipient (Feb. 7, 2025),
https://www.massgeneral.org/news/press-release/mgh-performs-second-xenotransplant-of-
genetically-edited-pig-kidney-into-living-recipient.


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       The transplant of a genetically edited pig kidney was only possible because of the

innovation ecosystem, which built on decades of research, including federally funded scientific

research at universities, in this case the University of California – Berkeley. The kidney used in

the transplant in Boston was genetically edited by a biotechnology company in Cambridge using

CRISPR-Cas9 technology to remove harmful pig genes and add certain human genes. CRISPR-

Cas9 technology acts like “genetic scissors,” allowing scientists to modify the genes. 8 NIH and

other federal agencies funded much of the work that led to the discovery of CRISPR and

development of the CRISPR-Cas9 technology at UC-Berkeley. 9 The federal funding of basic

science in universities was critical to this scientific breakthrough.

       CRISPR technology—and its discovery in NIH-funded basic science research at UC-

Berkeley—is the foundation for other life-saving medical breakthroughs. Researchers at the

Dana-Farber Cancer Institute have created a CRISPR-based rapid molecular diagnostic for two

forms of leukemia that are driven by mutations that involve gene fusions. 10 This new diagnostic

would not be available without federal funding of basic science at universities.

       There are other examples of the importance of university-based basic science research

outside of gene editing technology. Pediatric cancer researchers at the Dana-Farber/Boston

Children’s Cancer and Blood Disorder Center found that the medication avapritinib may be

effective in treating a type of aggressive brain cancer in children called pediatric high-grade



8
  Press Release, The Royal Swedish Academy of Sciences Nobel Prize in Chemistry 2020 (Oct. 7,
2020), https://www.nobelprize.org/prizes/chemistry/2020/press-release/.
9
  David Fajardo-Ortiz et al., Funding CRISPR: Understanding the role of government and
philanthropic institutions supporting academic research within the CRISPR innovation system, 3
Quantitative Science Studies 443 (June 22, 2022),
https://direct.mit.edu/qss/article/3/2/443/110371/Funding-CRISPR-Understanding-the-role-of.
10
   News Release, Dana-Farber Cancer Institute, Rapid Blood Cancer Diagnostic Could Speed
Decisions and Save Lives (Oct. 9, 2024), https://www.dana-farber.org/newsroom/news-
releases/2024/rapid-blood-cancer-diagnostic-could-speed-decisions-and-save-lives.


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glioma.11 Children with this type of cancer have a poor prognosis, so the potential for a new

treatment option is significant.12 Dana-Farber/Boston Children’s discovered the potential benefits

of the medicine in a study of the potential role of a specific protein receptor on the surface of

human cells.13 The promising finding followed years of earlier research, including NIH-funded

research at the University of Texas, into the same protein. 14

       At Beth Israel Deaconess Medical Center’s (“BIDMC”) Complex Hypertension Clinic,

physician-scientists are part of a national clinical study pioneering a treatment for patients with

high blood pressure.15 The new treatment, renal denervation, involves a minimally invasive

procedure to calm excessively active nerves connected to kidneys that may contribute to high

blood pressure. This potential new treatment builds on decades of NIH-funded research into

connections between kidney function and high blood pressure, including work done at a

university.16

       These examples—and many others like them—demonstrate the critical role of federal

funding for basic science at universities in providing the foundation for new treatments and cures

being pioneered at the Hospitals. Threats to the basic research funding at Harvard and other



11
   Lisa Mayr et al., Effective Targeting of PDGFRA-altered high-grade glioma with avapritinib,
43 Cancer Cell 740-56 (Apr. 14, 2025), https://www.cell.com/cancer-cell/pdf/S1535-
6108(25)00070-4.pdf.
12
   Id.
13
   Id.
14
   See, e.g., Carman K M Ip et al., Neomorphic PDGFRA Extracellular Domain Driver
Mutations Are Resistant to PDGFRA Targeted Therapies, 9 Nat. Commun. 4583 (Nov. 2018),
https://pmc.ncbi.nlm.nih.gov/articles/PMC6214970/.
15
   Beth Israel Deaconess, Complex Hypertension Clinic, https://www.bidmc.org/centers-and-
departments/cardiovascular-institute/cardiovascular-medicine/our-services/outpatient-
cardiovascular-clinic/complex-hypertension-clinic (last visited June 6, 2025); NIH, SPYRAL
AFFIRM Global Study of RDN with Syplicity Spyral RDN System with Subjects with
Uncontrolled HTN, https://clinicaltrials.gov/study/NCT05198674.
16
   NIH RePORTER, Aging and hypertension: Integrated renal and sympathetic control of blood
pressure, https://reporter.nih.gov/project-details/9751048 (last visited June 1, 2025).


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universities threaten the continued progress of advances in health care for patients here and

across the country.

     II.      Federal Funding Through Universities Supports Important Clinical Research at
              the Hospitals.

           Through collaborations and subgrants, federal funding to universities supports important

clinical research at the Hospitals. Harvard disperses federally funded clinical and translational

research grants among various institutions, including the Hospitals.

           One prominent example of Harvard’s research support is Harvard Catalyst, which has

been funded in part by NIH grants to the university. Harvard Catalyst coordinates and supports

clinical and translational research among the Hospitals, offering programs for researchers

relating to pilot funding, biostatics, regulatory and ethical compliance, and education and

training.17 Harvard Catalyst helps coordinate multisite studies and provides essential guidance

and support to the Hospitals’ investigators throughout the clinical research process. 18

           Through Harvard Catalyst, BIDMC provides laboratory space to more than thirty

researchers, and other support across all disease areas, including Huntington’s disease,

Alzheimer’s disease, and kidney disease. In fiscal year 2024, Harvard Catalyst supported 76

principal investigators at BIDMC, working on 152 clinical research projects, who attended to

more than 4,500 study visits. Many of the other Hospitals similarly rely on Harvard Catalyst to

support their clinic research programs. The funding cuts to Harvard threaten access to this key

research infrastructure at the Hospitals.




17
  Harvard Catalyst, About, https://catalyst.harvard.edu/about/ (last visited June 6, 2025).
18
  Harvard Catalyst, Connector, https://catalyst.harvard.edu/connector/ (last visited June 6,
2025).


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       Harvard Catalyst’s Smart IRB, also funded by NIH, aims to quickly and efficiently

ensure proper protections for human participants in large clinical trials. 19 To make sure human

research participants are protected, traditional Institutional Review Boards take months of due

diligence.20 Smart IRB reduced the time and expense to get large clinical studies running down

to as few as 20 minutes. 21 Without Smart IRB, the launch of new clinical trials may be delayed

and much more expensive.

       Another example of research at risk is the Nurses’ Health Study, one of the largest studies

into the causes of chronic disease in women over nearly fifty years. The study is a collaboration

between Harvard Medical School, Harvard T.H. Chan School of Public Health, and The Brigham

and Women’s Hospital (“BWH”), and has continuously received NIH funding since 1976. 22

       The current iteration of the study continues the collaboration between Harvard and BWH

and examines how dietary patterns, lifestyle, environment, and nursing occupational exposures

impact men’s and women’s health, among other issues. 23

       Thousands of nurses across the country have participated in the study’s decades of

research. Thanks to these participants, investigators working on the study have helped shape

public health policy and national dietary guidelines.24 For example, the Nurses’ Health Study




19
   Harvard Catalyst, Medical Researchers Baffled by Trump Administration’s Stop Work Order
for Clinical Trial System: ‘A Giant Step Backwards’,
https://catalyst.harvard.edu/news/article/medical-researchers-baffled-by-trump-administrations-
stop-work-order-for-clinical-trial-system-a-giant-step-backwards/ (May 12, 2025).
20
   Id.
21
   Id.
22
   Nurses’ Health Study, History, https://nurseshealthstudy.org/about-nhs/history (last visited
June 6, 2025).
23
   Id.
24
   Nurses’ Health Study, Key Contributions to Scientific Knowledge,
https://nurseshealthstudy.org/about-nhs/key-contributions-scientific-knowledge (last visited June
6, 2025).


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uncovered links between smoking and cardiovascular disease, and postmenopausal obesity and

breast cancer.25 The Study’s observations into associations between circulating sex hormones

and postmenopausal risk, and Vitamin D levels with colon polyps and colon cancer, have led to

new methods of disease treatment and prevention. 26 These discoveries are important to the area

of disease prevention and would not have been possible without federal funding. The funding

cuts to Harvard put future progress at serious risk.

                                          CONCLUSION

           Hospitals across the country, like the members of COBTH, conduct research that has kept

the United States at the forefront of medical science and improved the lives of countless patients.

Federal funding to universities, like Harvard, indirectly supports the Hospitals to continue their

lifesaving work. For the reasons above and in Plaintiff’s Motion for Judgment, the funding cuts

are arbitrary and capricious, and the balance of equities and public interest weigh in favor of

enjoining them. COBTH respectfully requests the Court grant Plaintiff’s Motion for Summary

Judgment.




25
     Id.
26
     Id.


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June __, 2025                Respectfully submitted,

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